Case 1:21-cv-10417-RWZ Document 26-3 Filed 02/04/22 Page 1 of 4




                      Exhibit C
       Case 1:21-cv-10417-RWZ Document 26-3 Filed 02/04/22 Page 2 of 4
                                                                   Page 001

 1                        UNCERTIFIED ROUGH DRAFT

 2        The following transcript represents a realtime

 3   version of the deposition of DAVID GRANDAW taken on January

 4   26, 2022.

 5        The realtime/rough draft text is unedited and

 6   uncertified and may contain untranslated stenographic

 7   symbols, an occasional reporter’s note, a misspelled proper

 8   name, and/or nonsensical word combinations.          All such

 9   entries will be corrected on the final certified

10   transcript, which we will delivered to you in accordance

11   with our standard delivery terms or on an expedited basis,

12   should you desire faster delivery.        This will serve as

13   notification that the final certified transcript will have

14   differences from the realtime/rough draft version,

15   including differing page and line number references.

16        Due to the need to proof and correct entries prior

17   to certification, you agree to use this realtime/rough

18   draft text only for the purpose of augmenting counsel’s

19   notes and not to use or cite it in any court proceeding or

20   to distribute it to any other parties.

21

22

23

24

25


                      UNCERTIFIED ROUGH DRAFT
       Case 1:21-cv-10417-RWZ Document 26-3 Filed 02/04/22 Page 3 of 4
                                                                   Page 002

 1                     THE VIDEOGRAPHER:       This is the beginning of       09:11

 2   media one in the deposition of Dave Grandaw in matter of E E             09:21

 3   P technologies voice KPM analytics case number 121 CV 10417              09:21

 4   R W Z.   Today's date is January 26, 2022.         And the time on       09:22

 5   the monitor is 9:23.     My name is Peter Cofrancesco.        I'm the    09:22

 6   videographer.     The court reporter is Jessica Noble.        We are     09:22

 7   here with Huseby global litigation.        Counsel, please               09:22

 8   introduce yourself after which the court reporter will swear             09:22

 9   in the witness.                                                          09:22

10                     ATTORNEY GRAVOIS:      Good morning.     My name is    09:22

11   Robert Gravois on behalf of the defendants from the law firm             09:22

12   of Thomas Horstemeyer.       With me is Andrew Craine, also              09:22

13   Thomas Horstemeyer, on behalf of the defendants.                         09:22

14                     ATTORNEY BALL:     Steve Ball for IEP.                 09:22

15   Thereupon:                                                               09:22

16        DAVID GRANDAW, residing at ^ witness home address,

17   ^ City, ^ State, being first duly sworn, as hereinafter

18   certified, was examined and testified as follows:                        09:22

19   DIRECT EXAMINATION BY ATTORNEY GRAVOIS:                                  09:22

20        Q       Good morning.    Can you please state your full name        09:22

21   and job title?                                                           09:22

22        A       David Wayne Grandaw.     I'm senior vice president of       09:22

23   sales.                                                                   09:23

24        Q       At what company?                                            09:23

25        A       IEP Technologies.                                           09:23



                       UNCERTIFIED ROUGH DRAFT
       Case 1:21-cv-10417-RWZ Document 26-3 Filed 02/04/22 Page 4 of 4
                                                                   Page 115

 1   a potential customer for us.                                              03:14

 2           Q      Have you ever heard of Label Expo?                         03:14

 3           A      I have not.                                                03:14

 4           Q      So I'm guessing you've never attended Label Expo?          03:14

 5           A      No.                                                        03:14

 6           Q      Are you aware of anybody attending Label Expo on           03:14

 7   behalf of IEP?                                                            03:14

 8           A      I've never heard of Label Expo, so I wouldn't              03:14

 9   know.       I don't know the travels of people within the                 03:14

10   company.                                                                  03:14

11           Q      Understandable, but you're not aware of anybody            03:14

12   from IEP attending Label Expo on behalf of IEP; correct?                  03:14

13           A      That is correct.                                           03:15

14                        ATTORNEY BALL:     We've been going over an          03:15

15   hour if there's a good time coming up.                                    03:15

16                        ATTORNEY GRAVOIS:        Just a few more questions   03:15

17   if that's okay with you.                                                  03:15

18                        THE WITNESS:     Sure.                               03:15

19   BY ATTORNEY GRAVOIS:                                                      03:15

20           Q      Ever heard of SNAXPO?                                      03:15

21           A      I have not.                                                03:15

22           Q      I'm assuming you have not attended SNAXPO or me of         03:15

23   anybody who has attended SNAXPO on behalf of IEP's behalf?                03:15

24           A      That is correct.                                           03:15

25                        ATTORNEY GRAVOIS:        Let's go off the record.    03:15



                          UNCERTIFIED ROUGH DRAFT
